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IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             )
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
             vs.                             ) No.    19-115
                                             )
TAL PRIHAR                                   )
                                             )
                       Defendant.            )


      TYPE OF CONFERENCE/HEARING:                Sentencing

                                    Before Judge Ambrose

      Jessica Lieber Smolar                    Michael Comber & Stephen Gorman
      Appear for USA                                   Appear for Defendant


Hearing begun: 1/25/22 8:55 a.m.
Hearing concluded: 1/25/22 10:55 a.m.
Stenographer: Barb Loch
Clerk: Carolyn Allen

Interpreter: Ruth Kohn

Witnesses:
(1) Rabbi Shlomo Goldfarb
(2) Micha Prihar
(3) Mor Prihar


Interpreter sworn.
Defendant sworn and testified.

Defendant sentenced on Count 1.

Judgment Order to follow.
